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 8                            UNITED STATES DISTRICT COURT
 9                          SOUTHERN DISTRICT OF CALIFORNIA
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11   TASNEEM L. MOHAMED,                                  Case No.: 14-cv-2449-L-MDD
12                                       Plaintiff,
                                                          ORDER DENYING PLAINTIFF'S
13   v.                                                   MOTION FOR CLASS
                                                          CERTIFICATION
14   KELLOGG COMPANY,
15                                     Defendant.
16
17         Pending before the Court is Plaintiff's motion for class action certification.
18   Defendant filed an opposition, and Plaintiff replied. This matter is submitted on the
19   briefs pursuant to Civil Local Rule 7.1.d.1. For the reasons which follow, Plaintiff's
20   motion for class certification is denied.
21   I.    BACKGROUND
22         Plaintiff is a consumer who purchased Gardenburger brand vegetarian hamburgers,
23   which are produced by Defendant. Plaintiff alleges she relied on the representation on
24   the package that Gardenburgers were "made with natural ingredients." However,
25   Gardenburgers contain hexane-processed soy ingredients. Hexane is allegedly derived
26   from crude oil, natural gas liquids, or petroleum refinery products. Soy beans are bathed
27   in hexane to separate soybean oil from protein. According to the complaint,
28   Gardenburgers contain two hexane-processed ingredients: soy lecithin and soy proteins.

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 1   Plaintiff claims that the presence of these ingredients renders the claim "made with
 2   natural ingredients" false and misleading to the consumers, and that based on this
 3   representation, consumers paid a price premium over comparable products which do not
 4   claim to be made with natural ingredients.
 5         Plaintiff filed a putative consumer class action in State court, which Defendant
 6   removed to this Court. The Court has subject matter jurisdiction pursuant to 28 U.S.C.
 7   §1332.
 8         In her operative first amended complaint Plaintiff alleges violations of California
 9   Unfair Competition Law, Cal. Bus. & Prof. Code §§ 17200 et seq.; California False
10   Advertising Law, Cal. Bus. & Prof. Code §§ 17500 et seq.; California Consumer Legal
11   Remedies Act, Cal. Civ. Code §§ 1750 et seq., and California Uniform Commercial Code
12   § 2313 (express warranty). Defendant moved for judgment on the pleadings pursuant to
13   Federal Rule of Civil Procedure 12(c). The motion was granted insofar as Plaintiff lacks
14   standing to seek injunctive relief and has not alleged sufficient facts to base any of her
15   claims on the representations made on Defendant's website. (See doc. no. 35.)
16         Plaintiff moves to certify a class under Federal Rule of Civil Procedure 23(b)(3)
17   defined as:
18         All persons who between July 29, 2010 and approximately January 2016,
           purchased Gardenburger products in the State of California that were labeled
19
           "Made With Natural Ingredients" but contained hexane processed soy
20         ingredients.
21
22   II.   DISCUSSION
23         "The class action is an exception to the usual rule that litigation is conducted by
24   and on behalf of the individual named parties only." Wal-Mart Stores, Inc. v. Dukes, 564
25   U.S. 338, 348 (2011) (internal quotation marks and citation omitted). A party seeking
26   class certification must be prepared to show "through evidentiary proof" that it meets all
27   requirements of Rule 23(a) and the requirements of at least one of the categories under
28   Rule 23(b). Comcast Corp. v. Behrend, 569 U.S. 27, 33 (2013). The court must conduct

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 1   a rigorous analysis to determine whether these requirements are met. Gen. Tel. Co. v.
 2   Falcon, 457 U.S. 147, 161 (1982). If the court is not fully satisfied that the requirements
 3   of Rules 23(a) and (b) are met, certification should be denied. Id.
 4           The parties' dispute pertains principally to the predominance requirement under
 5   Rule 23(b)(3), which requires a court to find, among other things, that "the questions of
 6   law or fact common to class members predominate over any questions affecting only
 7   individual members." Fed. R. Civ. Proc. 23(b)(3).
 8           To meet the predominance requirement, among other things, the "plaintiffs must be
 9   able to show that their damages stemmed from the defendant's actions that created the
10   legal liability." Vaquero v. Ashley Furniture Indus., 824 F.3d 1150, 1154 (9th Cir. 2016)
11   (internal quotation marks and citations omitted) (discussing Comcast). In Comcast, the
12   plaintiffs advanced four theories of liability, only one of which was approved for class
13   treatment. 569 U.S. at 35. The plaintiffs' proposed damage calculation would include
14   damages caused by all four theories combined. Id. at 36. However, if the plaintiffs
15   prevailed, they would be entitled only to damages resulting from one theory of liability.
16   Id. at 35. The Court held,
17           [A] model purporting to serve as evidence of damages in this class action
             must measure only those damages attributable to that theory. If the model
18
             does not even attempt to do that, it cannot possibly establish that damages
19           are susceptible to measurement across the entire class for purposes of Rule
             23(b)(3).
20
21   Id.
22           Defendant argues that Plaintiff's proposed model of damages does not meet this
23   standard.
24           Plaintiff's theory of liability and damages is that consumers paid excess
             money for Gardenburger products under the mistaken belief that they were
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             made with natural ingredients. . . . Thus, the damages at issue are the
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 1         monies paid by consumers for Gardenburger products that would not have
           been paid but for Gardenburger's misrepresentation.
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 3   (Pl.'s Mot. (doc. no. 66) at 26.) "The difference between what the plaintiff paid and the
 4   value of what the plaintiff received is a proper measure of restitution" under California
 5   consumer protection statutes. In re Vioxx Class Cases, 180 Cal. App. 4th 116, 131
 6   (2009); Colgan v. Leatherman Tool Group, Inc., 135 Cal. App. 4th 663, 694 (2006). The
 7   same measure applies to express warranty damages under California Uniform
 8   Commercial Code. See Cal. Comm. Code §§ 2714(2), 2721. Plaintiff refers to this
 9   measure of damages as the "price premium."1 (Pl.'s Mot. at 26.)
10         Plaintiff proposes to calculate damages using a conjoint analysis. She submitted a
11   report by her marketing and consumer behavior expert, Dr. Elizabeth Howlett, to support
12   of the position that damages can be calculated on a classwide basis and show how the
13   proposed analysis would be conducted. (See Howlett Report (doc. no. 66-3).)
14         Conjoint analysis is a quantitative consumer preference analysis used to measure
15   the value consumers assign to various product attributes, including a representation that
16   the product is "natural." (Howlett Report at 8.) This method has been used in marketing
17   research since the 1970s. (Id.) In Dr. Howlett's opinion, it is possible "to use the conjoint
18   analysis to quantify the percentage of the price premium for the 'Made With Natural
19   Ingredients' label on Gardenburgers on a classwide basis." (Id. at 4.)
20         Dr. Howlett proposes to use the choice-based variant of the conjoint analysis.
21   (Howlett Report at 9.) In a choice-based conjoint analysis, survey participants are
22   presented with sets of products. (Id.) Each product in the set is described by specific
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            Plaintiff indicates that she also seeks statutory damages under the Consumer Legal
     Remedies Act, disgorgement of Defendant's profits, and punitive damages. (Pl.'s Mot. at
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     13, 28-29.) These remedies are mentioned in a cursory manner, without elaboration, and
27   without evidentiary support. Accordingly, Plaintiff has not met her burden with respect
     to these additional remedies.
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 1   attributes being tested, such as, for example, whether a flat screen TV is high-definition,
 2   the type of speakers, and the speed of the video card. (Id. at 9-10.) The participants are
 3   asked which product in the set, i.e., which combination of attributes, they prefer. (Id. at
 4   10.) After making the selection, the participants are presented with another set of
 5   products in the same category, i.e., flat screen TVs, with different combinations of
 6   attributes, and are again asked which one they prefer. (Id.) After repeating the process
 7   multiple times with all the survey participants, "the mathematical algorithms underlying
 8   the conjoint analysis provide data about the relative importance weights of the tested
 9   attributes (which, when expressed as percentages, total to 100%)." (Id.)
10          Based on her extensive research of consumer response to, and interpretations of,
11   food labels, Dr. Howlett proposes to select attributes which reflect realistic consumer
12   choices for the product under study, and which comply with the conjoint survey design
13   principles. (See Howlett Report at 11-12.) Before conducting the survey, she proposes to
14   confirm the validity of her product attribute selections by conducting focus groups and a
15   series of pilot tests. (Id. at 13.)
16          Defendant argues that Dr. Howlett's proposed analysis is incapable of calculating
17   the price premium, and therefore cannot comply with Comcast. As stated in the report,
18   the results of Dr. Howlett's survey will show the relative importance consumers ascribe to
19   the surveyed Gardenburger attributes, including the representation that they were "made
20   with natural ingredients." (Howlett Report at 10.) It is not apparent from the report how
21   Dr. Howlett would translate these results to a price premium. Defendant contends that
22   the conjoint analysis measures only the consumers' willingness to pay for a particular
23   attribute, but does not consider the supply-side and market-based factors which influence
24   product price, such as production costs, availability of competitor products, etc. (Opp'n
25   (doc. no. 77) at 13-15 (citing Wilcox Decl. (doc. no. 77-1) at 8-9.)
26          Plaintiff counters that conjoint analysis withstood a similar challenge in In re
27   ConAgra Foods, Inc., 90 F. Supp. 3d 919 (C.D. Cal. 2015), aff'd Briseno v. ConAgra
28   Foods, Inc., 674 Fed. Appx. 654 (9th Cir. 2017). In ConAgra, Dr. Howlett's proposed

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 1   conjoint analysis was combined with a hedonic regression analysis conducted by another
 2   expert as follows:
 3           Plaintiffs propose to measure the classwide price premium attributable to
             their theory of liability using two steps: First, Plaintiffs will use hedonic
 4
             regression analysis to calculate the price premium attributable to the “100%
 5           Natural” label; second, they will use conjoint analysis to segregate the
             portion of that premium attributable to a “no-GMO” understanding of the
 6
             label.
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 8   Briseno, 674 Fed. Appx. at 657. To arrive at classwide damages, the price premium
 9   calculated by the first expert was multiplied by the percentage derived from Dr. Howlett's
10   conjoint analysis. In re ConAgra, 90 F. Supp. 3d at 1025. This approach was affirmed
11   notwithstanding the same challenge Defendant presents here. Id. at 1026 (contention that
12   conjoint analysis by itself does not account for supply and market factors which influence
13   price, and therefore also the price premium); aff'd Briseno, 674 Fed. Appx. at 657.
14           As in ConAgra, here Dr. Howlett proposes to "quantify the percentage of the price
15   premium." (Howlett Report at 4 (emphasis added).) However, unlike in ConAgra,
16   Plaintiff provides no indication how she intends to prove the price premium to which Dr.
17   Howlett's percentage would be applied to arrive at the amount of damages. Plaintiff has
18   not proposed to conduct a hedonic regression or any other type of analysis to calculate
19   the price premium, which would account for the supply and market factors that influence
20   price. Accordingly, Plaintiff has failed to carry her burden under Rule 23(b)(3) to show
21   that her proposed method of calculating damages on a classwide basis will in fact
22   measure damages attributable to her theory of liability. See Comcast, 569 U.S. at 35.
23   III.    CONCLUSION
24           Plaintiff's motion for class certification is denied without prejudice. If Plaintiff
25   wishes to file another class certification motion supported with adequate proof, she must
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 1   file it no later than 60 days after this Order is filed. The parties are expected to cooperate
 2   and expedite any additional discovery which may have to be conducted for this purpose.
 3         IT IS SO ORDERED.
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 5   Dated: March 23, 2019
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